                       Case 2:22-mj-03044-VRG Document 1 Filed 12/19/22 Page 1 of 2
AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                    §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: DR:22-M -03044(1)
                                                            §
(1) Shan Jiang                                              §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about December 12, 2022 in Edwards county, in the WESTERN

DISTRICT OF TEXAS defendant(s) did, intentionally and knowingly failed to enter the United States at a

designated border crossing point and did not report said arrival and present himself and all articles in his

possession for inspection, to wit: a misdemeanor



in violation of Title            19            United States Code, Section(s)     1459(a)

.

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "On December 11, 2022, defendant JIANG, SHAN, a citizen of China was arrested near

Rocksprings, Texas, for entering upon the United States, near Eagle Pass, TX within the Western District of

Texas, and failing to present himself and all articles accompanying him for inspection to the customs officer at

the customs facility. Defendant was encountered by Border Patrol Agents after an immigration inspection was

done on a vehicle he was an

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,                          /s/ De Milio, Gregory D.
                                                                           Signature of Complainant
                                                                           De Milio, Gregory D.
                                                                           Border Patrol Agent

12/19/2022                                                            at   DEL RIO, Texas
File Date                                                                  City and State



VICTOR ROBERTO GARCIA                                                      ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
            Case 2:22-mj-03044-VRG Document 1 Filed 12/19/22 Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT

                                  WESTERN DISTRICT OF TEXAS
      UNITED STATES OF AMERICA

                      vs.                              Case Number: DR:22-M -03044(1)

                 (1) Shan Jiang

Continuation of Statement of Facts:

occupant of. Defendant stated he was a citizen of China and did not possess any legal documents to legally enter or
remain in the United States."




______________________________                          /s/ De Milio, Gregory D.
Signature of Judicial Officer                                  Signature of Complainant
